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                                                                   3:24-mj-00010
                                        SEALED
DISTRICT OF OREGON, ss:               AFFIDAVIT OF JARED ROLLINS

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Jared Rollins, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am a Special Agent (SA) of the Federal Bureau of Investigation (FBI) and have

been so employed since July 2018. I am currently assigned to the Portland Field Office of the

FBI. In 2018, I successfully completed twenty-one (21) weeks of training at the FBI Academy

located in Quantico, Virginia. During that time, I was taught the use and practical application of

various investigative techniques that federal law enforcement officers are allowed to employ. I

have received specialized training in the investigation of complex financial crimes, provided by

the FBI or DOJ

       2.      I am familiar with the circumstances of the offenses described in this affidavit

through a combination of personal knowledge of the facts, discussion with other law

enforcement officials, and other investigative activities conducted and investigative materials

obtained during the investigation.

       3.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Sergey Lebedenko (“Lebedenko”) and Galina Lebedenko (“Galina”) for violations of Title 18,

United States Code, sections 1343 (wire fraud) and 1956 (money laundering). This affidavit does

not include all facts known to me, but rather contains facts sufficient to support the issuance of

an arrest warrant.

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                                     Statement of Probable Cause


       4.      On or around December 14, 2023, investigating agents learned from legal

representatives of an elderly crime victim (“V-1”) of excessive charges to an American Express

(AmEx) in V-1’s name by Lebedenko’s chauffeur business, Astra Car Service, LLC (“Astra”).

The Agents reviewed summaries and American Express (“AmEx”) statements provided by V-1’s

representatives that appeared to show unwarranted charges, in both the number and amounts of

transactions, over multiple years.

       5.      A review of documents obtained from American Express in another investigation

showed the path of all credit card charges processed by American Express. A charge is initiated

at a keypad or point of sale terminal, flows via a wire through a third-party processor, and is

simultaneously authorized via an American Express facility in Whitsett North Carolina. The

entirety of Astra’s charges are initiated in Portland, Oregon, according to V-1’s American

Express statements. This indicates that Astra’s charges would have been transmitted by interstate

wires to be approved and funded by American Express.

       6.      On January 4, 2023, FBI and IRS-CI Agents spoke with V-1. V-1 recounted that,

at some point in 2006 or 2007, V-1 met Lebedenko and started using Lebedenko’s chauffeur

services as a regular customer. Lebedenko and V-1’s relationship evolved over time such that

Lebedenko drove V-1 most days and provided additional services, including handyman services,

housesitting V-1’s Portland-area home while V-1 was away, and running errands for V-1 and V-

1’s partner.

       7.      Lebedenko originally charged V-1 $90 an hour via V-1’s AmEx. When the

business relationship evolved to include Lebedenko’s provision of additional personal services,

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V-1 discussed reducing the rate to half the original $90 per hour. The following is an invoice that

Galina emailed to V-1 in September 2013:




Fnxn:                    <asb.mmo@aol.wm>
 Sent                          0/20 -3 :30: 2    (UTC-08:00)
'To:
 S,ubjed:                           • om Astra Umous·   and Town Carse ·oe
AUadunent:                    93, _hom_Asfra_Limou • __and_T     _Car__service_2108.pdf

Dear

Yoo paid invoice'. _ att'aehoo.

'QTY is ho man hours        ·t ay."' PRJCe- ID much per hour.      OU     • mtal amoon    Of that
day hours. And on the bottom is ' Dt'\11.Ml'\ICE Due• · zeros.

This Is hmv Utls program works.



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GaDna

Aslra1Llmous e and Town Car seN:ice
503-539-<5531


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      Astra Limousine and Town Car service
      4506 SE Ancier,e gg Loop
      Portland. OR 97236
                                                                                                             I
                                                                                                                   Dat@ Q_/2.8./2013
                                                                                                             Invo ice #       4931




      P.O .#                                                                          Sh iip Date           91200013
      Te rms                 we-el<~                                                  Due Date              91200013
                                                                                      Otlherr




                Item                                 Description                                 Qty             Price          Amount
      f8ll:US                Lexus cle:anlng insocle, outsiele. run.I\ anti ane1 pain -3360             6           160.00           360.CID
      7 ours ,d/ iving       7 M um dri\liinQI 09-24- 13 3630                                           7            9CLOO           6llil.OO
      2 ours -               Walk. dli\18 IO swim 09-24-13 S,120                                        2           16(JJ]O          120.00
      2 ours, d'tivicy       09-24-13 2 l'I011rs d iving S, 1SO                                         2            9CLOO           180.00
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      7 liOurS dJivin...     09-.25--13 7 h011rs,,dt iving a:nel arrands $630                           7            90!00           630.00
      2 ours -               09-.2S-13 llllllltvalk,, luflCh, p:llls $ 120                              2           160!00           120.0[)
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      6 0ours, d'tivin ...   09-.27-13 dJiving afldi atran.ds $540                                      6           90.00            540.00
      2 ·ours -              09-.27-13 w a and pla'i $ 120                                              2           00!00            120.00




                                                                                                Subtotal!                        S,3,570.00
                                                                                                Sahts TaK (OJ)%)                      $(LOO
                                                                                                Total                            S,3,570.00
      Astra Umo.usine and Town Car se:rvic-e
                                                                                                Paym~lilts I Credits            -$3,570.00
      astral imo@aal ..com                                                503-539-5531
      www.astralimo.com                                                                         Sal,mce Due                           $(l.o0




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          8.            Over the ensuing years, V-1 met Galina several times. Galina occasionally would

help provide services to V-1. Galina was responsible for charging V-1’s AmEx. When V-1 posed

a question in the past about charges, Lebedenko would refer V-1 to Galina.

          9.            V-1 occasionally discovered Lebedenko and Galina had overcharged V-1’s

AmEx, the bills for which V-1 did not routinely review because they were paid by V-1’s

financial institution. On one such occasion, on August 6, 2022, V-1 confronted Lebedenko via

iMessage. The exchange is reprinted below, with V-1’s messages appearing as blue (dark)

bubbles and Lebedenko’s responses appearing as gray (light) bubbles:


                                                                                 Sergey did you try to charger S3400 to my Amex card?


                                                                                                                      8/6/20l2.. lt35:02 PM


 Bold (+15037012226)


    Of course not


 8/6/2012. 8:35:54 PM


 Sold (+15037012226)


    Absolutely not


 8/6/2022. 8:36:29 PM


 Bold (+15037012226)


    Nono no


 8/6/2022. 8:38:12 PM


 Bold (+15037012226)


    Why you always think I'm doing something? If I'm problem in your hfe fire me <1nd that's rt.


 8/6/2022. &.44:57 PM




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       10.     Although Lebedenko denied charging V-1 $3,400, Lebedenko and Galina had

charged V-1’s AmEx $28,900 over the two-day period of August 5-6, 2022, as shown in the

following table of charges:


             TRANSACT
             ION DATE                     PAYEE                     AMOUNT
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                               500.00
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                              2,900.00
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                              2,800.00
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                              1,100.00
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                              3,100.00
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                              3,500.00
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                              2,800.00
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                               800.00
                              ASTRA CAR SERVICE LLC 00-
               08/05/22       08002866831                               900.00
                              ASTRA CAR SERVICE LLC 00-
               08/06/22       08002866831                              3,100.00
                              ASTRA CAR SERVICE LLC 00-
               08/06/22       08002866831                              3,300.00
                              ASTRA CAR SERVICE LLC 00-
               08/06/22       08002866831                              1,200.00
                              ASTRA CAR SERVICE LLC 00-
               08/06/22       08002866831                              2,500.00
                              ASTRA CAR SERVICE LLC 00-
               08/06/22       08002866831                               400.00
                                                                     28,900.00


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       11.      Some fifteen months later, on or about November 18, 2023, V-1 discovered that

his AmEx had been charged between 10 and 15 times by Lebedenko. At the time, V-1 was

outside the Portland area and did not expect that Lebedenko would be charging him for services.

V-1 confronted Lebedenko about the charges and told Lebedenko to stop charging him until they

could discuss the charges. V-1 threatened to fire Lebedenko. V-1 then found that additional

charges were being made to his Amex after V-1 told Lebedenko to stop charging V-1’s AmEx.

V-1 ultimately blocked further charges by contacting American Express. After the conversation

on or about November 18, 2023, V-1’s AmEx was charged approximately 108 additional times

for an approximate amount of $15,703.

       12.      The following is the November 18, 2023, text exchange between V-1 and

Lebedenko with the blue (dark) bubbles representing V-1 and the gray (light) bubbles

representing Lebedenko:


          Sergey American Express tells me you have charged me about approxabout $300,00 over the course
          of October and November, probably more. I warned you about this and you and Galina didn't pay any
          attention. If this keeps up even a little bit longer you will be fired for sure.


                                                                                                  11/18/2023, 7:38:38 PM




                               got yo\Jr warning arid sorry abo\Jt that, Gahna didn't charge you more then we
             agreed With you last year. there's probably other charges coming from, If you think rm spending all
             your mon~ then definitely fire me and you will be more comfortable with me and working for you.
             I'm wry upset ·~ now because my daughter lost her unborn baby and on top of that you texted me
             about money. So you have all power to fire me but it's not only about money, it also relationship for
             long time with you and you 'know I can work for free for you because you been hke my father to me.
             Sorry about that ;1ga,ln and t'kJve fun at golden door little vacation! I love yoy BOss •


        I11/18/2023. 8:07:S.S PM



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           Sergey I'm going create a system requiring you to submit invoices to my accountant twice a month
           and he will pay you if I approve the amount. You will only be able to use the Amex card to make
           charges that are for me, not for yourself. We will negotiate an hourly rate for you based on standard
           Portland rates. If this is not Ok for you we will have to part ways. Either way, Galina will never again
           charge me +-500 a day virtually every day of the month.


                                                                                                  11/18/2023, 8:21 :32 PM




    You need to talk to Galina about all of this, she's my office worker and I'm outside working so
    whatever you think is best for you then do it. Remember Galina is the Boss on my side not me. And I
    asked you multiple t imes to have meeting w ith you about this and you refused to do it. I'm sorry
    again.


 11/18/2023, 9:03:40 PM

        13.      V-1 later discovered that Astra had charged approximately $34 million to V-1’s

AmEx card between 2016 and late 2023. When V-1 was asked how it made V-1 feel to discover

the total amount charged by Lebedenko and Galina, V-1 said, “I was astounded . . . utterly

astounded.” V-1 stated V-1 would have confronted Lebedenko and Galina had V-1 known the

true amount they had charged. V-1 said if V-1 had known Lebedenko and Galina had charged $9

million in 2019, that amount alone would have astounded V-1. V-1 said V-1 would have

confronted them in 2019 if v-1 had known that information at the time. V-1 said V-1 had never

spent that amount of money on anything and feels taken advantage of. The loss is beyond

anything V-1 could have conceived.

        14.      V-1 discovered that Lebedenko and Galina had acquired several properties,

seemingly without encumbrances during the time they were over-charging V-1. These properties

include, in approximate amounts, a $2 million dollar residence in Bermuda Dunes, California; a

$2.3 million residence in Sunriver, Oregon; a $1.5 million Cessna Citation III; and several other

properties in the Portland, Oregon and Battleground and Vancouver, Washington, areas. Several

Affidavit of Jared Rollins                                                                              Page 8
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of these properties have been placed in nominee names either through the purchase or later title

transfer.

          15.    Social media research shows pictures with Lebedenko and Galina celebrating the

purchase of one of these properties. They may have purchased one of the properties for their

pastor.

          16.    I reviewed V-1’s American Express statements for the period thirty-day period

from April 1 through April 30, 2022. Lebedenko and Galina charged V-1’s Amex 225 times for a

total of $602,490 over this period, for an average of 7.5 transactions a day at an average amount

of $2,677.73. V-1 was in Portland during that period only between April 6th, 2022, and April

13th, 2022.

          17.    V-1 spent the rest of the month outside the Portland area and was not receiving

daily services from Lebedenko and Galina. V-1’s long-term partner did not spend any time in the

Portland area. From April 24, 2022, to April 30, 2022, a 7-day period, Lebedenko and Galina

charged V-1 180 times for a total amount of $497,490. During this time V-1 and his partner had

minimal interaction with Lebedenko.

          18.    A review of Oregon Secretary of State (“SOS”) business records show an

amendment to Astra’s principal place of business on April 7, 2022. The address has been

changed to 56713 Dancing Rock Loop #3204, Bend, OR 97707. The document is signed by

Galina Lebedenko with the title of Member Manager. The phone number submitted for the

amendment is 503-539-5531, the same number listed on the invoice from September 2013. See

the below submission:




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                                                                                               C«poration/Llmited Llablllty Company - Information Change
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                                                                                                                       FILED: APR 7, 2022
                                                                                                                  OREOON SECRETARY OF STATE
                   REGISTRY NUMBER: _1_20_64_09_9_0_ _ __
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                    1. NAME OF CORPORATION OR UMITl:O UABIUTY COMPANY:


                                                                    Complete onl:, the sections that yot, are updating.
                    2. BUSINESSACTIVJTY                                                                6. ADDRESS WHERE THE DIVISION MAY MAIL NOTICtS:
                     ASTRACAR SERVICE LLC


                   3. PRINCIPAL PLAct OF BUSINESS: (Street Address)                                    7. THE NEW REGISTERED AGENT HAS CONSENTED TO nus
                                                                                                          APPOINTMENT.
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                   10. NAME(S) AND ADDRESS(ESK)F CORPORATE OFACBS OR LLC MEMBERS/MANAGERS
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                      PRESIDENT OR OWNER($) (MEMBERS): IHMnes. andMc!rem'-)                        SECRETARY OR MANAGER($): (HamH antlAdd'reu,nl




                   11. OCECUTIOt,I: I dedare as an authorized signer, under penalty of perjury, t hat this doa.,ment does not fraudulently COhCeat obscure,
                   alter, or otherwise misrepre-sent the identity of anv person includtng offlcets, ellrectors, employees, members, managers or agents. This
                   filing has been examined by me and ls, to the hf-At of my knoYAedge and belief, true, correct and complete. Making false statemenu In
                   this document Is against the law and m:iv be penaliicd bv fin-es, imprisonment, or both.

                   S.GN~f: ~~                        /                                     PRINTED NAME:                                       TIT\.E:

                                                    £.-'=---- GAUNA lEBEDENKO
                   -~==-'-'-1"~="",,L._,e-'bR='-'r/1,=~===                                                                                      MEMBER MANAGER

                     CONTACI NAME: (To resolve ~tsti011swithtlws m ng.1                           FEES
                     GALINA LEBEOENKO                                                             NoP,_s~Fe•
                     f'ttONE MUMIEfl: Undud'eam<ode)
                     503-539-5531

                      lllfonoN!l11t'1ChaflOall/11)




       19.    The Oregon SOS records show the original Articles of Organization for Astra Car

Service, LLC, dated April 12, 2016. The address listed thereon is 4506 SE Anderegg Loop,

Portland, OR 97236. The Registered Agent at that date was Sergey Lebedenko and the

Authorized Agent bore the electronic signature of Galina Lebedenko.




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                                       Request for Sealing

       20.     It is respectfully requested that the Court issue an order sealing, until further order

of the Court, all papers submitted in support of the requested criminal complaint and arrest

warrant. I believe that sealing these documents is necessary because the information to be seized

is relevant to an ongoing investigation, and any disclosure of the information at this time may

cause flight from prosecution, destruction of or tampering with evidence, intimidation of

potential witnesses, or otherwise seriously jeopardize an investigation. Premature disclosure of

the affidavit, the criminal complaint, and the arrest warrant may adversely affect the integrity of

the investigation.


                                            Conclusion

       Based on the aforementioned facts, your affiant respectfully submits that there is

probable cause to believe that Sergey Lebedenko and Galina Lebedenko violated Title 18, United

States Code, sections 1343 (wire fraud) and 1956 (money laundering).


                                              By phone pursuant to Fed. R. Crim. P. 4.1
                                              JARED ROLLINS
                                              FBI Special Agent

       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at 

SP on January , 2024.



                                              __________________________________
                                              HONORABLE STACIE F. BECKERMAN
                                              United States Magistrate Judge



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